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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                       EASTERN DIVISION AT JACKSON

 TAYLOR SULLIVAN,
       Plaintiff,
 v.
                                                      Civil Action No. 2019-cv-01259
 PANTHER PETROLEUM, LLC; and,
 O’REILLY AUTOMOTIVE STORES, INC.
 d/b/a O’REILLY AUTO PARTS,
                     Defendants.

             MEMORANDUM OF LAW IN SUPPORT OF RESPONSE
                 IN OPPOSITION TO MOTION TO DISMISS

      The “economic loss doctrine” does not bar any of the claims made by Taylor

Sullivan in this lawsuit, for the simple reason that the defective good manufactured

and foisted upon unwitting purchasers by Defendant Panther (lubricant/grease)

damaged “other” property (Mr. Sullivan’s cotton picker machinery) and so this case

cannot be dismissed as a matter of law.

I. Standard of Review under Fed. R. Civ. P. 12(b)(6).

      In considering a motion to dismiss brought under Fed. R. Civ. P. 12(b)(6), the

Court must accept as true all well-pleaded factual allegations of the complaint. Bell

Atlantic v. Twombly, 550 U.S. 544, 555 (2007)(“Factual allegations must be enough

to raise a right to relief above the speculative level, on the assumption that all the

allegations in the complaint are true (even if doubtful in fact)[.]”). See also Ashcroft

v. Iqbal, 556 U.S. 662, 677-78 (2009); Doe v. Baum, 903 F.3d 575, 581 (6th Cir. 2018);

Coley v. Lucas County, Ohio, 799 F.3d 530, 537 (6th Cir. 2015); Tackett v. M & G

Polymers, USA, LLC, 561 F.3d 478, 488 (6th Cir. 2009).


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      Interpreting the Twombly standard, the Sixth Circuit stated:

      A claim has facial plausibility when the plaintiff pleads factual content
      that allows the court to draw the reasonable inference that the
      defendant is liable for the misconduct alleged. . . . For a complaint to
      survive a motion to dismiss, the non-conclusory factual content and the
      reasonable inferences from that content, must be plausibly suggestive of
      a claim entitling a plaintiff to relief.

Estate of Smith ex rel. Richardson v. United States, 509 F. App’x 436, 439 (6th Cir.

2012) (internal quotation marks and citations omitted).


II. Mr. Sullivan brought two claims for breach of warranty, one claim for negligent
    misrepresentation, and one claim for reckless damage to personal property.

      The motion to dismiss made by Defendant Panther does not take care to

address the type of claims actually made by Mr. Sullivan, but any sound analysis

must begin there. (Docket Item #1 – Complaint, passim) Mr. Sullivan brought four

separate claims: breach of warranty of fitness for a particular purpose (see, e.g.,

Docket Item #1 – Complaint at ¶¶19 [no disclaimer of warranty], 30-31); breach of

warranty of merchantability (see, e.g., id. at ¶¶19 [no disclaimer of warranty], 30-31);

negligent misrepresentation (see, e.g., id. at ¶¶14, 17, 22, 25, 32-36); and, reckless

damage to personal property, (Docket Item #1 – Complaint ¶38-43)

      The “economic loss doctrine”[ 1 ] upon which Defendant Panther Petroleum

relies so heavily in its motion to dismiss does not apply to any of the actual claims




      1  The terms “economic loss doctrine” and “economic loss rule” appear to be
synonymous, and “economic loss doctrine” will be used in this memorandum since
that is the term used by the Tennessee Supreme Court. The term will be placed
inside quotation marks throughout this memorandum.


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brought by Mr. Sullivan:        not to breach of warranty claims; not to negligent

misrepresentation claims; and, not to reckless damage to personal property claims. 2

         The “economic loss doctrine,” as adopted in Tennessee most explicitly in

Lincoln Gen. Ins. Co. v. Detroit Diesel Corp., 293 S.W.3d 487 (Tenn. 2009), prevents

a party whose purchased product fails and damages only the failed product itself from

making a tort claim for that damage.           For example, in Lincoln General Life

Insurance, the Tennessee Supreme Court refused to permit a tort claim for a defective

bus, when the bus, (“the product itself”), was the only thing harmed by its defect: in

that case, a turbocharger component of the bus failed and burned the bus. Id. at 488.

Even upon close reading, though, the Lincoln General Life Insurance opinion reveals

no clear reason why a party would bring a tort claim just for damage to the product

alone.       Id. passim.   The Supreme Court opinion arose by way of answering a

certified question from the U.S. District Court for the Middle District of Tennessee,

and the underlying opinion in the district court does make clear why a products

liability claim had been made:        all express and implied warranties had been

disclaimed by the manufacturer of the bus, leaving the purchaser with no warranty


         Two out-of-state cases contain the most succinct statement on this point.
         2

First, in SRC Const. Corp. of Monroe v. Atl. City Hous. Auth., 935 F. Supp. 2d 796,
801 (D.N.J. 2013), the Court flatly held: “As to the breach of express warranty claim,
the Court does not see how the economic loss doctrine could apply to such a claim
because it sounds in contract, not tort.” Second, in Neibarger v. Universal
Cooperatives, Inc., 486 N.W.2d 612, 618 (Mich. 1992) the Michigan Supreme Cour
held that where a plaintiff seeks to recover for economic loss caused by a defective
product purchased for commercial purposes, the exclusive remedy is provided by the
UCC, including its statute of limitations.”)




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claims at all. Lincoln Gen. Ins. Co. v. Detroit Diesel Corp., No. 3:08-0368, 2009 WL

2983035, at *4-*7 (M.D. Tenn., Sept. 14, 2009) (discussing the validity of the

disclaimers of all warranties) (copy of opinion attached as Appendix A to this

memorandum). Consequently, the purchaser of the bus sought to accomplish by a

tort claim what could not be accomplished by a contract claim.                  See id.

Understanding the background reveals the rationale supporting the “economic loss

doctrine”:   respect for contractual allocations of risk and refusal to reallocate

contractually assigned risks through tort law.        Lincoln General Life Insurance

sought just such a reallocation, and the Tennessee Supreme Court denied it.

      The important U.S. Supreme Court cited with approval by the Lincoln General

Life Insurance court likewise manifests an underlying policy rationale of not

reallocating contract risk by way of product liability or tort law.          East River

Steamship Corp. v. Transamerica Delaval, Inc., 476 U.S. 858, 859-861 (1986). Close

attention to detail in reading the East River Steamship Corp. reveals why only tort

claims appeared for discussion in the case: all breach of warranty claims had been

voluntarily dismissed as being barred by the applicable statute of limitations. Id. at

861 (“The initial complaint . . . alleged breach of contract and warranty as well as tort

claims. But after Delaval interposed a statute of limitations defense, the complaint

was amended and the charterers alone brought the suit in tort.”) The passage of

time barring the enforcement of contractual allocations of risk led the U.S. Supreme

Court to refuse to reallocate those risks through tort law.        Id. at 867 (deciding

“whether a commercial product injuring itself is the kind of harm against which




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public policy requires manufacturers to protect, independent of any contractual

obligation”).

      Although more or less explicit in their discussions, most cases whose reasoning

can be analyzed demonstrate adherence to the idea that the economic loss doctrine

preserves the “benefit of the bargain” between parties who either did or could have

allocated risk by means of a contract, rather than by means of tort law. See, e.g.,

Irish Venture, Inc. v. Fleetguard, Inc., 270 F. Supp. 2d 84, 86 (D. Mass. 2003);

Windward Aviation, Inc. v. Rolls-Royce Corp., No. CIV. 10-00542 ACK, 2011 WL

2670180, at *6 (D. Haw. July 6, 2011) (“To determine what constitutes ‘the product’

and what constitutes ‘other property’ for purposes of the economic loss rule, the Court

must analyze the ‘object of the bargain’ between the parties.”)

      The policy undergirding the “economic loss doctrine” helps courts determine if

the rule has any application to the facts of particular cases: where it appears one

party seeks to reallocate contractual risk due to statute of limitations or disclaimer

problems with contract claims, the economic loss rule properly bars a claim; where

those concerns do not exist, the rationale for the rule fails to exist.

      Defendant Panther strives mightily to make Mr. Sullivan’s claim something it

is not, but Mr. Sullivan’s actual allegations in his actual complaint demonstrated that

none of the policy reasons underlying the development of the “economic loss doctrine”

obtain in this case: the cotton picker machinery and the grease/lubricant supplied

by Defendant Panther are wholly different objects purchased in wholly different

transactions (see Docket Item #1 – Complaint ¶¶9, 15-16, Exh. A); no warranties were




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disclaimed in the present case, not any express nor any implied warranties, (see

Docket Item #1 – Complaint ¶19); Tennessee’s four year statute of limitations for

breach of warranty claim has not yet now expired (Compare Docket Item #1 –

Complaint ¶15 [2018 date of purchase] with Tenn. Code Ann. §47-2-725(1)); and,

Tennessee requires no privity of contract to enforce a UCC warranty claim for

property damage – once the product is sold the “warranties run with the product.”

Tenn. Code Ann. §29-34-104 construed in Commercial Truck & Trailer Sales, Inc. v.

McCampbell, 580 S.W.2d 765, 773 (Tenn. 1979).

      So, this Court should begin its analysis with the conclusion that the complaint

filed in this case demonstrates, conclusively at this juncture, that Mr. Sullivan does

not make his tort claim, or any claim in his complaint, as a way to reallocate

contractual risk that had been arranged by the parties in an unfavorable way for him.

This conclusion should be enough basis to deny the motion to dismiss, but even if it

is not, the balance of the argument here demonstrates that Mr. Sullivan has stated a

claim for relief in his complaint.      Moreover, the absence of any attempted

reallocation should inform the rest of the analysis here: at the motion to dismiss

stage, where the defendant cannot show the presence of the reason for applying the

rule, the inferences to be drawn in making the analysis of the rule should be drawn

in favor of the non-moving party. See Doe v. Baum, 903 F.3d 575, 581 (6th Cir.

2018). Cf. also Windward Aviation, Inc., at *8 (holding that at summary judgment

stage, moving party bears the burden of proving the object of the parties’ original

bargain so that application of the “economic loss doctrine” can be analyzed).




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III. The complaint here specifically sought compensation for damage to property,
    i.e., for physical damage to “other property,” (Mr. Sullivan’s cotton picker), besides
    the grease/lubricant supplied by Defendant Panther.

      Stated in propositional form by the Tennessee Supreme Court, the “economic

loss doctrine” is a rule that bars “recovery in tort for purely economic loss * * * when

a product damages itself without causing personal injury or damage to other

property.” Lincoln Gen. Ins. Co. v. Detroit Diesel Corp., 293 S.W.3d 487, 489 (Tenn.

2009). To apply the doctrine, two separate things must be analyzed: (1) whether

the loss a purely economic loss; and, (2) whether the defective property caused some

damage to “other property.” Id. at 487-493.

      A. Mr. Sullivan did not seek compensation for purely economic losses.

      Contrary to the characterization that the complaint sought damages for an

economic loss, Mr. Sullivan expressly alleged that the grease manufactured,

packaged, and sold by Defendant Panther caused extensive physical injury to his

machinery:

      25.    The actual product provided to Taylor Sullivan was not fit to
      protect and lubricate the spindles of his cotton picker machinery, and in
      fact caused significant and extensive damage to the machinery.

(Docket Item #1, Complaint ¶25 [highlighting added])            One item, the grease /

lubricant, caused damage to another item, the cotton picker machinery:                Mr.

Sullivan sought no damages for loss of profit, nor for any kind of economic or

pecuniary damages but rather for the damage caused to his equipment by the

grease/lubricant. The cost to repair arising from physical damage to property, (as

opposed to the cost arising from replacement of the defective part), is not an economic

damage – it is property damage. McCrary v. Kelly Tech. Coatings, Inc., 1985 WL


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75663, at *3 (Tenn. App., Aug. 28, 1985) discussed in Messer Griesheim Indus., Inc.

v. Cryotech of Kingsport, Inc., 131 S.W.3d 457, 466 (Tenn. App. 2003). 3 Defendant

Panther misses entirely the important distinction between the types of “repair” costs.

      In one of the leading cases in Tennessee on the “economic loss doctrine,” the

Tennessee Supreme Court noted that a physical damage to property, any property,

can be differentiated from pecuniary or economic type damages, i.e., a loss of profits:

the plaintiffs in that case sought lost profits associated with a tomato crop, and so the

case had to be dismissed under the “economic loss doctrine,” whereas if the plaintiffs

had sought property damages for the actual damage to the plants themselves, the

economic loss rule would have had no application and case would not have been

dismissed. Quoting the complaint in the case under analysis there, the Tennessee

Supreme Court stated: “there was extensive damage to their crops as a consequence,

thereby causing economic loss to the plaintiffs.” Ritter v. Custom Chemicides, Inc.,

912 S.W.2d 128, 129 (Tenn. 1995). The Ritter court went on to say:

      Even the description of the loss reflected in the Sixth Circuit’s order,
      “there was extensive damage to their crops,” suggests physical damage
      to property for which recovery can be had under Section 402B. However,
      since the plaintiffs sued for “economic damages resulting from the lost
      profits,” there can be no recovery under Section 402B.

Id. at 132. In the present case, by contrast, Mr. Sullivan asserted directly and

unequivocally that the grease supplied by Defendant Panther “caused significant and



      3  “We concluded our opinion in McCrary by noting that there was no evidence
that the component (the paint) caused physical damage to the end product (the
swimming pool). In the case before us there is evidence that the component (the
carbon dioxide) did cause damage to the end product (separate property of Messer
and its customers).” Messer Griesheim, 131 S.W.3d at 465.


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extensive damage” to his cotton picker. (Docket Item #1, Complaint ¶25)4

      Mr. Sullivan made no claim for loss of profits nor for any pecuniary loss:

instead, he made a direct claim for the damage caused to one piece of property, his

cotton picker machine, by the grease manufactured, distributed, and sold into

commerce by Defendant Panther.


      B. Application of the “economic loss doctrine” also fails because the
         grease/lubricant manufactured and sold by Panther damaged “other
         property” besides the grease, i.e., the grease damaged Mr. Sullivan’s cotton
         picker machine.

      Defendant Panther tries to make the grease/lubricant a component part of the

cotton picker machinery, but it has no case law that, directly or by convincing

analogy, demonstrates grease or a lubricant applied to a machinery is a component

part of that machinery; Panther has no such case law for the simple reason that the

English language will not support such a conclusion.         “Component” part means

something that “composes,” “constitutes,” or “makes up,” something else.          See 3

OXFORD ENGLISH DICTIONARY 620 (2d ed. 1989) (q.v. component). A component part

is a “constituent part” or ingredient – “the various components of an electric motor[.]”



      4  The Ritter court noted, also: “The distinction between damages for economic
loss and damages for injury to property is not always clear. * * * * The terms ‘economic
loss’ and ‘pecuniary loss’ are synonymous for the purposes of this opinion and include
loss of profits.” Ritter, 912 S.W.2d at 129 n.1.
       Mr. Sullivan made a specific claim for the cost of the defective grease/lubricant,
and that type of damage may be recovered under a breach of warranty theory under
the Uniform Commercial Code. Tenn. Code Ann. §47-2-711, §47-2-713. Mr.
Sullivan will not be able to have a double recovery of damages, but he will be entitled
to recover both tort and contract damages to the full extent of his loss.




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WEBSTER’S THIRD NEW INTERNATIONAL DICTIONARY 499 (1993) (q.v. component). In

other words, “component” is a physical piece of the whole assembly, not a substance

poured onto or into the whole assembly to lubricate its parts.       A cotton picker

remains a cotton picker without fuel and without grease – no sense exists in which

those items are actually “part of” the cotton picker itself.

       Even if the plain meaning of “component” were not so clear as to exclude grease

or a lubricant from being a component party, Defendant Panther, respectfully, has

not been completely forthright with this Court about the parameters of defining

“other property” under the “economic loss rule,” i.e., with the idea of a “component

part” in actual practice.

       In the case closest to being directly on point to the current dispute, the U.S.

District Court for the District of Massachusetts determined, on a motion to dismiss,

that an oil filter was not a component part of an engine, and thus the “economic loss

doctrine” did not bar recovery for damage to the engine against the seller and

manufacturer of the oil filter, after the oil filter failed:

       The object of Irish Venture’s bargain with Rose’s Oil was an oil filter.
       The filter, once installed, caused damage not only to itself - damage
       which is presumably adequately addressed by contract damages - but
       also to the engine, which was purchased in an entirely separate bargain,
       and cannot be said to have been any part of the deal struck between
       Irish Venture and Rose’s Oil.

Irish Venture, Inc. v. Fleetguard, Inc., 270 F. Supp. 2d 84, 86 (D. Mass. 2003). At

least four cases have followed the reasoning of the Irish Venture court, and Defendant

Panther ignores those cases altogether, not even bothering to inform the court that

authority contrary to its argument exists:



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    Windward Aviation, Inc. v. Rolls-Royce Corp., No. CIV. 10-00542 ACK, 2011

WL 2670180, at *6 (D. Haw. July 6, 2011) (holding that materials submitted at

summary judgment stage did not show a replacement turbine part on helicopter was

purchased at same time or was object of original bargain for the helicopter itself, and

thus the “economic loss doctrine” did not apply”);

    Ins. Co. of N. Am. v. Man Engines & Components, Inc., No. 05-60699-CIV, 2006

WL 8432178, at *4 (S.D. Fla. June 27, 2006) (defective engine “bargained for,

purchased and added subsequent to the original purchase of the vessel” was separate

from vessel, thus “economic loss rule” did not bar claim for damage to boat caused by

defect in the engine);

    Ice Fern Shipping Co. v. Golten Serv. Co., No. 1:04-CV-20741, 2005 WL

3692840, at *3 (S.D. Fla. Mar. 22, 2005) (holding that a vessel’s engine was “other

property” when damaged by a separately purchased defective governor and thus the

“economic loss doctrine” did not bar recovery in tort for the damage caused by the

governor); and,

    Mountain W. Helicopter, LLC v. Kaman Aerospace Corp., 310 F. Supp. 2d 459,

465 (D. Conn. 2004) (applying Connecticut law to facts involving the destruction of

helicopters caused by the failure of separately purchased clutch assemblies placed on

the helicopters, and noting that “majority of the courts addressing the issue” have

decided the issue in the same manner).

      Defendant Panther does refer to one case, in passing, that mentions “gasoline,

oil, and grease.” (Docket Item #17 – Defendant’s Memorandum of Law, p. 8, citing




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Albers v. Deere & Co., 599 F. Supp.2d 1142, 1163 (D.N.D. 2008)), but the Albers case

analyzed the converse facts of the present case:      in a case involving a defective

header that destroyed a combine unit, the Albers court briefly mentioned whether

$500 of fuel in the combine at the time the defective header caused its destruction be

“other property” the damage to which would overcome the “economic loss doctrine.”

599 F.Supp.2d at 1163. The Albers court seemed concerned, in part, that permitting

de minimis items to qualify as “other property” would defeat the purpose of the

“economic loss doctrine” in the first place, since de minimis items almost always

would be involved in equipment destruction. Id. The Albers court said nothing

about the converse situation: when the de minimis property destroys the far more

valuable property, is the far more valuable property “other property” for the purpose

of the “economic loss doctrine,” but the analysis suggests that it would be, for if the

de minimis property destroys or damages the far more valuable property, no de

minimis concern is present. 5     Defendant Panther asserts that Albers stated a

proposition supporting its statement that “cotton-picker grease-which was

“purchased to be installed and integrated with” the cotton picker is a “component” of

the cotton picker.” (Docket Item #17 – Defendant’s Memorandum of Law, p. 8) The




      5  It bears note the concerns about undermining the contractual allocation of
risk played a central role in the Albers case: there the seller of the used combine
and header units expressly disclaimed all warranties in a written bill of sale and the
statute of limitations had expired on all warranty claims. Albers, 599 F. Supp.2d at
1164. The Albers court said: “In this case, no warranty was given, much less a
warranty that would extend the four-year limitations period. Consequently, Albers’s
breach of warranty claims are barred by the statute of limitations since this action
was filed more than four years after the sale of the combine and the header.” Id.


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Albers court, though, held no such thing: Panther’s quoted phrase “purchased to be

installed and integrated with” does not appear in the Albers decision on page 1194 or

anywhere in the opinion; this Court will be able to read the Albers opinion and to

discern that Defendant Panther places quotes and a cite around language that never

appears in the Albers decision.     More substantively, though, the Albers decision

never says that if a defective “consumable” causes damage to a much larger

separately purchased piece of equipment, that under the “economic loss doctrine” bars

recovery in tort for the damage caused by the separately purchased consumable item,

and the Irish Ventures case specifically held that the doctrine does not bar such a

claim.

         The reliance upon Tenn. Farmers Mutual Ins. Co. v. Ford Motor Co., 2002 WL

1332492 (Tenn. App., June 17, 2002) (called “TFMIC”)suffers from a similar flaw as

reliance on Albers: Defendant Panther seeks to make TFMIC say something it does

not say. In TFMIC, the Tennessee Court of Appeals took for granted there that the

defective steering column had been a “component part” of the destroyed automobile

from the beginning. 2002 WL 1332492, at *1-*6. In fact, in the second sentence of

the opinion, the TFMIC court said: “No personal injuries resulted from the fires, and

no other property was damaged.”       Id. at *1. At no point in the opinion did the

TFMIC court determine that consumable parts purchased far after the original

purchase were part and parcel of the “product itself,” precluding recourse to tort

liability for damages.

         Messer Griesheim Indus., Inc. v. Cryotech of Kingsport, Inc., 131 S.W.3d 457,




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466 (Tenn. App. 2003), supports Mr. Sullivan’s position that the grease/lubricant

manufactured and distributed by Defendant Panther was a separate product that

caused damage to other property. In that case, the Tennessee Court of Appeals held

that contaminated “feedgas” distributed by Eastman Chemical constituted a product

in itself, and when Messer Griesheim purchased that feedgas and it contaminated

other gas, as well as ruined containers, a tort claim would exist for that damage. Id.

The Messer court went on to hold that the cost of cleaning contaminated rail cars

would not be included, id., which seems hard to understand without reference back a

prior Court of Appeals decision cited by the Messer court, which said:

      According to one writer, “[t]he principle that emerges from these two
      decisions [Walker and Curtis] is that the decreased value of an end
      product caused by a defective component is economic loss unless the
      component causes physical damage to the end product, in which case the
      loss is property damage.”

McCrary v. Kelly Tech. Coatings, Inc., 1985 WL 75663, at *3 (Tenn. App., Aug. 28,

1985) (cited and discussed by the Messer court at page 465 of that opinion). 6

      Defendant Panther cannot point to any case that holds that a fluid placed

within a product long after the initial purchase is part of the “product itself,” and the




      6 On page 465, the Messer court said: “We concluded our opinion in McCrary
by noting that there was no evidence that the component (the paint) caused physical
damage to the end product (the swimming pool).” In other words, the defective paint
caused only economic harm, because it entailed only stripping it off and placing on a
new coat, versus actual physical damage to the swimming pool. In the present case,
though, the defective grease/lubricant did actually cause (and is alleged to have
actually caused) physical damage to Mr. Sullivan’s cotton picker. (Docket Item #1 –
Complaint ¶25 [“in fact caused significant and extensive damage to the machinery])
When physical damage occurs, the cost to repair or diminution in value is not
economic harm, but property damage.


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Irish Venture case, which appears to be the closest case factually to the present case,

says just the opposite. The “economic loss doctrine” does not bar any of the claims

brought by Mr. Sullivan.

IV. In making its argument that a privity requirement exists for breach of warranty,
    Defendant Panther ignores applicable Tennessee statutory law (and a Tennessee
    Supreme Court case recognizing the impact of the statute) specifically dispensing
    with the privity requirement for breach of warranty claims.

      In its haste to escape responsibility for its malfeasance, Panther ignores a plain

proposition of Tennessee law:     claims for breach of warranty brought under the

Uniform Commercial Code require no privity of contract to be enforceable:

      In all causes of action for personal injury or property damage brought
      on account of negligence, strict liability or breach of warranty, including
      actions brought under the Uniform Commercial Code, privity shall not
      be a requirement to maintain such action.

1972 Tenn. Pub. Acts ch. 672 codified at Tenn. Code Ann. §29-34-104 (highlighting

added). 7 The Tennessee Supreme Court long ago gave a definitive explanation of

this statute, in which it recounted had been passed to overrule a decision of that court

holding that privity was required for a breach of warranty action under the Uniform




      7  Originally, the Tennessee Code Commission codified this statute at Tenn.
Code Ann. §23-3004. Later, the codification changed to Tenn. Code Ann. §29-34-104,
which is part of a chapter in the Tennessee Code entitled “Torts.” The codification
placement does not bear on the meaning of the statute, as the public act was passed
as a stand-alone enactment, not as a part of any larger law, 1972 Tenn. Pub. Acts, ch.
672 (containing one substantive section, the law now codified at Tenn. Code Ann. §29-
34-104) and the Tennessee Code Commission possesses no authority to change the
meaning of any enactment of the Tennessee General Assembly, whether by wording
change or by placement in the codification. Tenn. Code Ann. §1-1-108(a) (“the
commission shall not alter the sense, meaning or effect of any act of the general
assembly”). A copy of 1972 Tenn. Public Acts, ch. 672 is attached to this
memorandum as Appendix B.


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Commercial Code. Commercial Truck & Trailer Sales, Inc. v. McCampbell, 580

S.W.2d 765, 771-772 (Tenn. 1979):

      It was after these decisions that the provisions of T.C.A. s 23-3004 were
      enacted. We are constrained to the view that the Legislature meant
      exactly what it said that in all actions for personal injury or property
      damage predicated upon breach of warranty, including those arising
      under the Uniform Commercial Code, “privity shall not be a
      requirement to maintain said action.”

Id. at 772 (highlighting added) (noting the specific rejection or abrogation of prior

decisions of the Supreme Court as well as the Court of Appeals case of Leach v. Wiles,

429 S.W.2d 823 (Tenn. App. 1968)).

      The specific rejection of Leach v. Wiles by the adoption of 1972 Tenn. Pub. Acts

ch. 672 manifests a salient point here, for in its holding, the Leach court used

language nearly identical to that used by Defendant Panther in its memorandum of

law. Compare Leach v. Wiles, 429 S.W.2d 823, 832 (Tenn. App. 1968) with Docket

Item #17 - Defendant Panther Memorandum of Law, p. 11. The Leach court stated:

      As we understand it, our Supreme Court has gone no further than to
      hold that in the absence of contractual privity, liability can be imposed
      upon the manufacturer for breach of implied warranty when ‘one sells
      any product in a defective condition unreasonably dangerous to the user
      or to his property’ as provided in 2 Restatement (Second) Torts, sec.
      402A (1965).

      This rule, of course, places a much heavier burden of proof upon the
      purchaser than does the rule which allows recovery by the purchaser
      from his immediate seller under T.C.A. Sections 47-2-314 and 47-2-315
      of the Uniform Commercial Code.

Leach, 429 S.W.2d at 832 (internal case law citations omitted). In its memorandum

of law, Defendant Panther stated: “To be sure, there is a narrow exception to the




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privity requirement for warranty claims if the product at issue is unreasonably

dangerous.” (Docket Item #17 - Defendant Panther Memorandum of Law, pp. 10-11)

      Both of the cases cited by Defendant Panther, Walker v. Decora, Inc., 471

S.W.2d 778 (Tenn. 1971); Olney v Beaman Bottling Co., 418 S.W.2d 430 (Tenn. 1967)

were abrogated or overruled by the Tennessee General Assembly when it passed 1972

Tenn. Pub. Acts ch. 672, an enactment designed expressly to do away with the privity

requirement for breach of warranty claims.       The McCampbell court stated the

present rule of law in Tennessee succinctly when it said: “Essentially the statutory

warranties are made to run with the product, at least in the range of its intended and

reasonably anticipated use.”    McCampbell, 580 S.W.2d at 773. 8        Mr. Sullivan

specifically and expressly claimed the warranty of fitness for a particular purpose

and of merchantability, (Docket Item #1 – Complaint ¶30), and he need not prove

privity to pursue those claims. McCampbell, 580 S.W.2d at 773.




      8 To the extent the language in some opinions appears to conflict with the
express holding of McCampbell, those opinions are potentially incorrect and at a
minimum not binding authority. Americoach Tours, Inc. v. Detroit Diesel Corp., No.
04-2016 B/V, 2005 WL 2335369, at *8 (W.D. Tenn., Sept. 23, 2005), for example,
mentions that the court has found no cases that permit a breach of warranty claim
for economic damages, but the statement appears not to heed the holding of
McCampbell, which apparently no party brought to the attention of the Court there.
In any event, McCampbell says what it says and the 1972 Tenn. Pub. Acts ch. 672
says plainly what it says, which is that privity is not required to sustain a warranty
claim when property damage exists. “Property damage” perhaps means physical
damage to an item of property other than the non-conforming object of the sale
transaction, but as the discussion has shown that requirement obtains here.


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V. The “economic loss doctrine” has no application in negligent misrepresentation
   claims, which Mr. Sullivan expressly made in his complaint.

      In Ritter v. Custom Chemicides, Inc., 912 S.W.2d 128 (Tenn. 1995), the

Tennessee Supreme Court reviewed its prior decision in John Martin Co. v.

Morse/Diesel, Inc., 819 S.W.2d 428 (Tenn.1991) and reaffirmed the viability of

negligent misrepresentation claims absent privity and even for economic-type losses.

The Ritter court outlined the elements of such a claim, quoting John Martin Co., as

follows:

      By the use of this standard, liability in tort would result when, despite
      lack of contractual privity between the plaintiff and the defendant,
            (1) the defendant is acting in the course of his business,
            profession or employment, or in a transaction in which he has a
            pecuniary (as opposed to gratuitous) interest; and
            (2) the defendant supplies faulty information meant to guide
            others in their business transaction; and
            (3) the defendant fails to exercise reasonable care in obtaining
            or communicating the information; and
            (4) the plaintiff justifiably relies upon the information.
Ritter, 912 S.W.2d at 130 (quoting John Martin Co., 819 S.W.2d at 431. Mr. Sullivan

pleaded all of the necessary elements of this claim in his complaint:

                                           Location in Sullivan Complaint
           Element
                                                  (Docket Item #1)
 (1) Defendant acting in     ¶¶11-12, 17
 business for pecuniary
 interest
 (2) Defendant supplies      ¶¶14, 21, 25, 30-31, 32, 35
 faulty information          ¶22: “In fact, the grease shown on Exhibit A, marketed
 meant to guide others       and sold to Taylor Sullivan as ‘picker grease,’ was not
 in a business               ‘picker grease’ at all, but rather another type of grease
 transaction                 not fit for use to lubricate and protect cotton picker
                             equipment.”




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 (3) Defendant fails to    ¶¶25, 33
 exercise reasonable       ¶34: “Panther Petroleum, LLC was the only party with
 care in communicating
                           the ability to know the actual contents of the containers
 information
                           labeled for sale as grease fit for use to lubricate and
                           protect cotton picker equipment.”
                           ¶43: “Panther Petroleum, LLC consciously disregarded
                           the risk of harm by placing a label representing that the
                           product was fit to be used as grease for cotton picker
                           machinery upon a large amount of product and causing
                           harm to cotton picker machinery in the west Tennessee
                           area.”

 (4) Plaintiff justifiably ¶¶23-24
 relies on the
 information supplied by
 defendant

      Mr. Sullivan thus stated a cause of action for negligent misrepresentation by

the express content of a false label attached by Defendant Panther to its grease,

representing that the grease could be used as “picker grease” when, in fact, it was not

picker grease. While generalized statements about “effectiveness” will not support

a misrepresentation claim, direct statements that a product is one thing, when in fact

it is another, such as Mr. Sullivan asserted, do support a misrepresentation claim.

Ritter, 912 S.W.2d at 131. In at least one case, a court found that the Restatement

of Torts (Second) §552 negligent misrepresentation claim, (the same one adopted in

Tennessee), could be used to address faulty information supplied to farmers on

product labels. Mainline Tractor & Equip. Co. v. Nutrite Corp., 937 F. Supp. 1095,

1105 (D. Vt. 1996).

      Taylor Sullivan therefore prays that the motion to dismiss be denied and that

this matter proceed to discovery and trial, and for such other relief to which he may

be entitled.


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                                 Respectfully submitted,
                                 W. Lewis Jenkins Jr. #017423
                                 Attorneys for Plaintiff Taylor Sullivan
                                 Jenkins|Dedmon|Hayes Law Group LLP
                                 426 Troy Ave., P.O. Box 846, Dyersburg, TN 38024
                                 Tel. No. 731.259.6100 /Fax No. 731.288.7540

                            CERTIFICATE OF SERVICE
        Lewis Jenkins, counsel for Plaintiff, certifies that a copy of the forgoing
document to which this certificate of service is attached was filed through the Court’s
ECF system and served upon the following person by operation of the ECF system,
to all parties indicated on the electronic filing report on February 18, 2020: R. Dale
Thomas, Esq. (Attorney for Defendant Panther Petroleum, LLC) and John Ramsey
McCarroll III, Esq. and Sarah Elizabeth Stewart, Esq. (Attorneys for O’Reilly
Automotive Stores, Inc. d/b/a O’Reilly Auto Parts).
                                        W. Lewis Jenkins Jr.




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